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 4
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 7
 8                                  UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                              *****
11   UNITED STATES OF AMERICA,                   )      Case No 1:07-CR-0254 LJO
                                                 )
12                                               )      DEFENDANT ROBERT SHEPARD’S
                           Plaintiffs,           )      APPLICATION FOR ORDER
13                                               )      EXONERATING APPEARANCE AND
     vs.                                         )      COMPLIANCE BOND AND ORDER
14                                               )      THEREON
     ROBERT SHEPARD, et al.                      )
15                                               )      Honorable Lawrence J. O’Neill
                                                 )
16                         Defendant.            )
                                                 )
17
18          Defendant Robert Shepard, by and through his attorney of record, W. Scott Quinlan,
19   hereby moves the Court for an order exonerating the unsecured appearance and compliance bond
20   in the above-captioned case.
21          On October 11, 2007, the magistrate court ordered Robert Shepard released from custody
22   under conditions of pre-trial services supervision and a $100,000.00 unsecured appearance and
23   compliance bond. A Justification of Sureties was signed by Mr. Royal Hall on October 12, 2007.
24          On February 6, 2009, Robert Shepard appeared before this court for sentencing. He was
25   sentenced to 5 months home confinement and 24 months of probation.
26   ///
27   ///
28   ///
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 1            Robert Shepard requests that the Court exonerate the unsecured appearance and
 2   compliance bond previously set by the magistrate court.
 3
 4   Dated:    February 19, 2009                                Respectfully submitted,
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 6
 7
 8                                                               /s/ W. Scott Quinlan
                                                                W. Scott Quinlan, Attorney for
 9                                                              Defendant, ROBERT SHEPARD
10
11                                                ORDER
12            Good cause appearing therefore,
13            The attached unsecured appearance and compliance bond secured by Royal Hall for the
14   amount of $100,000.00 is to be exonerated.
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17   IT IS SO ORDERED.
18   Dated:      February 19, 2009                    /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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